 8:05-cr-00094-LSC-FG3       Doc # 46    Filed: 05/05/05   Page 1 of 1 - Page ID # 95




                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                  )
                                           )
                    Plaintiff,             )
                                           )                  8:05CR94
      vs.                                  )
                                           )                   ORDER
ESTRELLA ALBA-CRUZ,                        )
                                           )
                    Defendant.             )



      This matter is before the court on defendant's unopposed MOTION FOR
EXTENSION OF PRETRIAL MOTION FILING TIME [45]. For good cause shown, I find that
the motion should be granted. The defendant will be given an approximate 45-day
extension. Pretrial Motions shall be filed by June 20, 2005.

      IT IS ORDERED:

        1.    Defendant's MOTION FOR EXTENSION OF PRETRIAL MOTION FILING TIME [45]
is granted. Pretrial motions shall be filed on or before June 20, 2005. Defendant is
ordered to file a waiver of speedy trial as soon as practicable. The extension applies
to all defendants.

       2.     The ends of justice have been served by granting such motion and
outweigh the interests of the public and the defendant in a speedy trial. The
additional time arising as a result of the granting of the motion, i.e., the time
between May 4, 2005 and June 20, 2005, shall be deemed excludable time in any
computation of time under the requirement of the Speedy Trial Act for the reason
defendant's counsel required additional time to adequately prepare the case, taking
into consideration due diligence of counsel, and the novelty and complexity of this
case. The failure to grant additional time might result in a miscarriage of justice. 18
U.S.C. § 3161(h)(8)(A) & (B).

      DATED May 5, 2005.

                                        BY THE COURT:


                                        s/ F.A. Gossett
                                        United States Magistrate Judge
